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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

THOSE CERTAIN UNDERWRITERS AT
LLOYD’S, LONDON, SUBSCRIBING TO                    )
CERTIFICATE NO. SUAWSD50147-2001,                  )
                                                   )
Plaintiff,                                         )
                                                   )
vs.                                                )     Case No.: 4:23-cv-00099
                                                   )
U-DRIVE ACCEPTANCE CORPORATION,                    )
INC. and DEBRA SUE HAMMONS,                        )
                                                   )
Defendants.                                        )

                         JOINT PROPOSED SCHEDULING PLAN

       Plaintiff Those Certain Underwriters At Lloyd’s, London, Subscribing To Certificate

No. SUAWSD50147-2001 (“Plaintiff”) and Defendants U-Drive Acceptance Corporation, Inc.

(“U-Drive”) and Debra Sue Hammons (“Hammons”) (collectively the “Parties”), in response to

the Court’s Order Setting Rule 16 Conference [Doc. 19], submit the following proposed Joint

Scheduling Plan:

                                      Nature of the Case

This is a declaratory judgment coverage action regarding whether Underwriters owe any duty to

defend or indemnify their insured U-Drive under a claims-made management liability insurance

policy issued to U-Drive effective January 29, 2020 to January 29, 2021, with a retroactive date

of January 29, 2020 (the “Policy”), for an underlying class action brought by Hammons via

counterclaim in Missouri state court (“Hammons Action”). The Hammons Action, which is now

certified as a class action and remains pending, alleges that U-Drive, a sub-prime auto lending

business, engaged in unlawful practices in mailing pre-sale and post-sale notices as a standard


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practice to secured parties, constituting violations of the U.C.C. Underwriters are providing a

defense to U-Drive in the Hammons Action, subject to a reservation of rights to deny coverage.

                                    Related Coverage Action

 Underwriters filed a separate coverage action against U-Drive in the District Court for the District

of New Mexico, Those Certain Underwriters at Lloyd’s, London, Subscribing to Certificate No.

SUAWSD50147-2001 v. U-Drive Acceptance Corporation, Inc., et al., case No. 1:23-cv-00037-

JHR-GJF, seeking a declaration that it owes no duty to defend or indemnify its insureds for a

consumer class action pending in New Mexico state court. The parties are not yet at issue there.

a.       Track Assignment. An assignment to Track 1 is appropriate and agreed upon by all

         parties, subject to modification depending upon the court’s rulings following Phase I

         discovery and dispositive motions, discussed below.

b.       Joinder of Additional Parties or Amendment of Pleadings. The parties shall move to

         join additional parties or amend pleadings by September 1, 2023.

c.       Discovery Plan.

         i.     Electronically Stored Information (“ESI”). To the extent that there will be relevant

                electronically stored information, the parties expect the disclosure of such

                information will be able to handled through the routine discovery process. The

                parties have made no agreements regarding electronically stored information to

                date.

         ii.    Agreements Regarding Privileged Information and/or Work Product. Documents

                and ESI in the custody of Defendants contain confidential personal information

                concerning the Hammons class, including, for instance, social security numbers.



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           To the extent that the parties cannot reach agreement concerning the production of

           said information, the parties are amenable to future agreements concerning a potential

           Protective Order to the extent that any sensitive information is sought or revealed.

    iii.   Rule 26(a)(1) Initial Disclosures.      Rule 26(a)(1) initial disclosures will be

           exchanged by August 14, 2023.

    iv.    Discovery in Phases or Limited to Certain Issues. Since the Hammons Action

           remains pending, the duty to defend is the only issue ripe for consideration by the

           court at this time. The duty to indemnify, if any, can only be ruled upon after the

           disposition of the Hammons Action by settlement or judgment. The Parties believe

           that discovery should be completed in phases as follows:

              a. Phase I discovery limited to written discovery relevant to the duty to defend;

              b. Phase II discovery, if necessary, regarding the duty to indemnify to take

                  place upon disposition of the Hammons Action.

    v.     Experts. Because experts are not applicable to Phase I discovery, the Parties

           propose that disclosure of experts be deferred until further court order upon

           commencement of Phase II discovery.

    vi.    Presumptive Limits on Depositions and Interrogatories during Phase I discovery.

           The Parties anticipate that the presumptive limits of ten depositions per side and 25

           interrogatories per party will be reasonable and propose that those limits shall apply

           to Phase I discovery. The Parties further propose that any limitations pertaining to

           Phase II discovery be deferred until Phase II commences, if at all.

    vii.   Physical or Mental Exams.      Inapplicable



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         viii.   Completion of Discovery. The Parties propose that Phase I fact discovery be

                 completed by November 20, 2023.

         ix.     Other Matters Pertinent to Completion of Discovery: The Parties are not presently

                 aware of other matters pertinent to Phase I discovery at this time.

d.       Referral to Mediation or Early Neutral Evaluation. The parties are not yet sure whether

         mediation will be productive in this matter.

e.       Dispositive Motions. The parties shall file dispositive motions pertaining to Phase I,

         including Motions to Dismiss and/or Motions for Summary Judgment, by December 18,

         2023.

f.       Earliest Date for Trial. The parties request that any setting of a trial date be deferred until

         a ruling on Phase I dispositive motions.

g.       Length of Trial. The parties request that they advise the court of the anticipated length of

         trial, if any, after the court rules on Phase I dispositive motions.

h.       Other Matters. The parties know of no other matters which should presently be included

         in the Joint Scheduling Plan.

THE ABOVE PROPOSED SCHEDULING PLAN IS HEREBY STIPULATED by and between

the undersigned attorneys.




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Respectfully submitted,                            Respectfully submitted,

Counsel for Plaintiff, Those Certain               Counsel for Defendant, Debra Sue Hammons
Underwriters At     Lloyd’s,  London,
Subscribing      To          Certificate
No. SUAWSD50147-2001

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